Case 1:04-cr-10098-SHI\/| Document 23 Filed 08/29/05 Page 1 of 2 Page|D 24

IN THE UNITED STATES DISTRICT COURT

 

FOR THE WESTERN DISTRICT OF TENNESSEE 0 966
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UNITED sTATEs oF AMERICA, §§ ,;_, <-;>9 \
Plaimiff, j =" “ '°.;;P co
vs No. 04-10098-T ian/§§ "/¢ '
TERRY DICKERSON, “?/@/,<)/
Defendant.

ORDER CONTINUING TRIAL AND REPORT DATE
AND EXCLUDING DELAY

Upon motion of counsel for defendant, With no objection from the government and for
good cause Shown, the report date which is currently scheduled for August 30, 2005, and the trial
date which is currently scheduled for September 7, 2005, are hereby continued. The defendant
contends that additional time is needed to prepare for trial.

The court finds that defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of justice will be Served by granting a continuance in order to allow the defendant more time to
prepare for trial. Accordingly_ the trial is continued from Septelnber 7. 2005. to November 7.

2005 at 9:30 A.M. The resulting period of delay, from Septernber 7, 2005, to November 7,

 

2005, is excluded pursuant to 18 U.S.C. § 3161(h)(8)(A).
A new report/motion date has been set for October 28, 2005, at 8:30 a.rn.
IT IS SO ORDERED.
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{M¢ES D. TODD
TED STATES DISTRICT IUDGE

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DATE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 1:04-CR-10098 was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

